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BTXN 208 (rev. 07/09)
                2 Motion for joint administration of cases 21−30080 and 21−30085 Debtors' Emergency Motion for an Order Directing The Joint
                Administration of Chapter 11 Cases Filed by Debtor National Rifle Association of America (Attachments: # 1 Proposed Order), 3
                   Notice of designation as complex chapter 11 case filed by Debtor National Rifle Association of America. (Attachments: # 1
                 Proposed Order), 4 Motion to extend time to file schedules or new case deficiencies, excluding matrix Filed by Debtor National
IN RE: National     Rifle Association of America (Attachments: # 1 Exhibit A/Proposed Order), 5 Motion to maintain bank accounts. Debtors'
Rifle            Emergency Motion for Authority to Continue Use of Existing Cash Management System, Maintain Bank Accounts, Pay Certain           Case #
Association of  Costs and Fees Associated with Credit Card Transactions, and Continue Use of Existing Business Forms Filed by Debtor National 21−30085−hdh11
America          Rifle Association of America (Attachments: # 1 Exhibit A/Proposed Order # 2 Exhibit B), 6 Motion to pay Debtors' Emergency
                Motion for Interim and Final Orders Authorizing Payment of Prepetition Employee Wages, Compensation, and Employee Benefits
                and Granting Related Relief Filed by Debtor National Rifle Association of America (Attachments: # 1 Exhibit A/Interim Order), 7
                    Motion to pay tax debtsDebtors' Emergency Motion for Interim and Final Orders Authorizing the Debtors to Pay Certain
                                            Prepetition Taxes Filed by Debtor National Rifle Association of America
DEBTOR
                                                                  TYPE OF HEARING

National Rifle
Association of                                                              VS                                                             Defendant
America
PLAINTIFF /                                                                                                                                DEFENDANT /
MOVANT                                                                                                                                     RESPONDENT


J. Gaither                                                                                                                                 Defendant Attorney
ATTORNEY                                                                                                                                   ATTORNEY


                                                                       EXHIBITS
DECLARATIONS FILED AT DKT #10, DKT #11 AND DKT #12




Shanette Green                                                         1−20−2021                                Harlin DeWayne Hale
REPORTED BY                                                                                                     JUDGE PRESIDING
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                                 HEARING
                                 DATE
